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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY



                                                               Civil Action No. 17-50 (CCC)
      JIONNI CONFORTI,

                       Plaintiff,

             V.                                                  60 DAY ORDER ADMINISTRATIVELY
                                                                       TERMINATING ACTION
     ST. JOSEPH'S HEALTHCARE SYSTEM, INC.,

                        Defendant.



          It having been reported to the Court that the above-captioned action has been settled,
          IT IS on this 19th        day of   April , 2021,
          ORDERED that this action and any pending motions are hereby administratively
   terminated; and it is further
          ORDERED that this shall not constitute a dismissal Order under Federal Rule of Civil
   Procedure 41; and it is further
          ORDERED that within 60 days after entry of this Order (or such additional period
   authorized by the Court), the parties shall file all papers necessary to dismiss this action under
   Federal Rule of Civil Procedure 41 or, if settlement cannot be consummated, request that the
   action be reopened; and it is further
          ORDERED that, absent receipt from the parties of dismissal papers or a request to
   reopen the action within the 60-day period, the Court shall dismiss this action, without further
   notice, with prejudice and without costs.



                                                             ____s/Claire C. Cecchi      .
                                                              CLAIRE C. CECCHI, U.S.D.J.
